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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

DENEISE INGRAM, as Legal        )
Guardian for KAREN CHANDLER,    )
                                )
                Plaintiff,      )                                   8:09CV110
                                )
       vs.                      )                                     ORDER
                                )
COVENANT CARE MIDWEST, INC.,    )
d/b/a/ NEBRASKA SKILLED NURSING )
AND REHABILITATION and COVENANT )
CARE, INC.                      )
                                )
                Defendants.     )


       This matter is before the court on the plaintiff’s Motion to Compel Discovery (Filing
No. 39). The plaintiff filed a brief (Filing No. 40) and an index of evidence (Filing No. 39-1
and 39-2) in support of the motion. The defendants filed a brief (Filing No. 45) in
opposition to the motion and requesting oral argument, and an index of evidence in support
of the brief (Filing No. 46). The plaintiff did not file a brief in reply.


                                        BACKGROUND
       The plaintiff, Deneise Ingram (Ingram), is Karen Chandler’s (Chandler) legally
appointed guardian. See Filing No. 1 - Notice of Removal, Complaint, ¶ 1. According to
the complaint, Chandler, a vulnerable adult, was admitted to the defendants’ skilled nursing
facility, Nebraska Skilled Nursing and Rehabilitation (NSNR), on or about March 12, 2008.
Id. ¶ 2. Ingram alleges the defendants provided negligent treatment to Chandler, causing
her to become so severely dehydrated she suffered irreversible vascular damage which
required amputation of both of her legs. See Filing No. 1 - Notice of Removal, Complaint.
Ingram filed her complaint in the District Court of Douglas County on February 25, 2009.
See Id. The defendants removed this matter to the United States District Court for the
District of Nebraska on March 26, 2009. See Filing No. 1 - Notice of Removal.
       In her motion to compel, the plaintiff moves the court for an order compelling
answers to interrogatories and production of documents. See Filing No. 40 - Motion, p. 1.
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The plaintiff originally requested the court compel answers to Interrogatories Nos. 4, 5, 6,
7, 12 and Request for Document Production Nos. 2, 6, 9, 10, 11, 15. See Filing No. 39.
The interrogatories at issue generally requested the following information: whether the
defendants have ever been a party to any action involving any resident or previous resident
of the nursing home; all other health care facilities owned or operated in which the
defendants have a greater than five percent interest; the identity of each employee of the
nursing home who may have participated in the operations or management during
Chandler’s residency; and the identity of all members of the governing body of the nursing
home during Chandler’s residency.       See Filing No. 40.      The requested documents
generally sought the following information: copies of all incident or accident reports at the
nursing home during Chandler’s residency; a copy of the medical director’s contract with
the nursing home setting forth the specific duties the medical director must perform; copies
of all residency census reports to include acuity levels at the nursing home; operating
budgets prepared by the nursing home; copies of all documentation maintained on each
employee at the nursing home; and a copy of the corporate and organizational charts of
the nursing home. Id. at 5-6.
       In its response brief, the defendants state that supplemental responses were
provided to all of the Interrogatories, and all but one of the Requests for Production of
Documents at issue, after the plaintiff filed the instant Motion to Compel. See Filing No.
45 - Opposition to Motion. The defendants provided supplemental responses to the
Interrogatories and Requests for Production of Documents on April 30, 2010. See Filing
No. 45, and Exhibits at Filing 46-8 (Supplemental Answers). Following a review of the
defendants’ responses, the only remaining discovery request at issue is Request No. 11
which states, in part, “Please produce a true and correct copy of any and all documentation
maintained by the nursing home for each employee of the nursing home, as required by
applicable laws and regulations, who worked at the nursing home during the residency at
issue. . . .” See Filing Nos. 45, and 39-2 - Plaintiff’s Index of Evidence. The request goes
on to list a number of information items including applications for employment, criminal
background checks, licensing certifications, and disciplinary information, among other
things. Id.

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       In support of this request, the plaintiff reiterates her allegation that the defendants
failed to staff the nursing home facility with an adequate number of properly trained
personnel. See Filing No. 40, p. 8. The plaintiff believes she is entitled to the requested
information as it goes directly to the issue of the qualifications of the staff hired by the
defendants, given that Chandler dehydrated so severely over the course of her stay at the
defendants’ facility. Id. In response, the defendants stand on their original objection that
the request is overly broad, unduly burdensome, not reasonably calculated to lead to the
discovery of admissible evidence, and seeks privileged and/or confidential information.
See Filing No. 45, p. 10.     Further, the defendants argue the plaintiff has not met her
threshold burden of demonstrating the relevance of this information and is not entitled to
the documents as a matter of law. Id. at 11.
       First, the defendants claim the information sought is irrelevant to the plaintiff’s claim.
Id. While the defendants recognize that tantamount to plaintiff’s claim is the allegation the
nursing facility was inadequately staffed, the defendants note the plaintiff has failed to
demonstrate how documents, including employee applications and resignation letters,
could prove the applicable standard of care, NSNR’s alleged deviation from the standard
of care, or how NSNR’s alleged breach caused Chandler’s injuries. Id. at 12. The
defendants claim their additional discovery responses demonstrate the facility at issue was
more than adequately staffed, and the plaintiff can draw her own staffing conclusions from
the information already provided. Id. at 13.
       Second, the defendants claim the request for employee files is unduly burdensome
and harassing. Id. According to the defendants, the requested information was not limited
by time, location or subject matter, and demanding information concerning other non-party
facilities owned by Covenant Care, a holding company, during other time periods, and/or
for other types of claims is not only irrelevant but unduly burdensome and harassing. Id.
at 13-14. Additionally, if the defendants were to produce the files of all persons employed
by NSNR at any given time, there would be over a hundred individuals including kitchen
and custodial workers, most of whom had little or no contact with Chandler. Id. at 14. The
defendants produced a list of individuals who specifically provided care to Chandler. The
defendants argue the list provides the relevant information without being overly broad. Id.

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       Finally, the defendants argue information concerning “confidential non-party
personnel records” is confidential and protected under Nebraska law, absent a compelling
showing of evidence. Id. at 14-15 (citing Kaufman v. Western Sugar Co-op, Inc., 2007
WL 2509480 at *4 (D. Neb. Aug. 29, 2007)). Here, the defendants argue the plaintiff has
not made a compelling showing of why the requested non-party employee files are
relevant, and therefore Request No. 11 should be denied because it seeks production of
confidential personnel information. Id. at 15. In addition, the defendants argue the plaintiff
is requesting information and documents necessary to justify an award of punitive
damages. Id. However, punitive damages are not recoverable under Nebraska law,
making this request irrelevant. Id. at 15-16. For the foregoing reasons, the defendants
request the court to deny the plaintiff’s motion to compel.


                                         ANALYSIS
       “Mutual knowledge of all the relevant facts gathered by both parties is essential to
proper litigation.” Hickman v. Taylor, 329 U.S. 495, 507 (1947). As a starting point,
parties may discover any relevant, unprivileged information that is admissible at trial or is
reasonably calculated to lead to admissible evidence. See Fed. R. Civ. P. 26(b)(1).
“Parties may obtain discovery regarding any nonprivileged matter that is relevant to any
party’s claim or defense--including the existence, description, nature, custody, condition,
and location of any documents . . .” Fed. R. Civ. P. 26(b)(1). Relevancy is to be broadly
construed for discovery issues and is not limited to the precise issues set out in the
pleadings. Relevancy, for purposes of discovery, has been defined by the United States
Supreme Court as encompassing “any matter that could bear on, or that reasonably could
lead to other matter that could bear on, any issue that is or may be in the case.”
Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Discovery requests
should be considered relevant if there is any possibility the information sought is relevant
to any issue in the case and should ordinarily be allowed, unless it is clear the information
sought can have no possible bearing on the subject matter of the action. See Burlington
Ins. Co. v. Okie Dokie, Inc., 368 F. Supp. 2d 83, 86 (D. D.C. 2005). The proponent of
discovery must make a threshold showing of relevance before production of information,

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which does not reasonably bear on the issues in the case, is required. Hofer v. Mack
Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992).
       To determine if a matter is discoverable, the analysis requires the court to first
determine whether the discovery sought is relevant to a claim. “Some threshold showing
of relevance must be made before parties are required to open wide the doors of discovery
and to produce a variety of information which does not reasonably bear upon the issues
in the case.” Id. If a matter is relevant, the court must determine if the matter is subject
to a privilege precluding discovery, or if the court should otherwise use its discretion to limit
discovery on the matter. “Determinations of relevance in discovery rulings are left to the
sound discretion of the trial court and will not be reversed absent an abuse of discretion.”
Hayden v. Bracy, 744 F.2d 1338, 1342 (8th Cir. 1984).
       The court finds the plaintiff has not met her burden of showing the relevance of the
information requested in Request for Production of Documents No. 11. The request seeks
information concerning any and all employees of NSNR, most of whom had no contact with
Chandler and whose job had little or no impact on her care. The court agrees with the
defendants that other documents and answers to interrogatories already provided to the
plaintiff should be sufficient to support or refute her allegations of inadequate staffing by
the defendants. Additionally, the court agrees the request is overbroad and unduly
burdensome and not likely to lead to the discovery of admissible evidence. Most important
to the plaintiff’s claim is disclosure about which of NSNR’s employees specifically provided
care and treatment to Chandler. This information has already been provided and the court
finds no compelling legal or factual reason why other employees must be identified and
their confidential employment files disclosed. Accordingly, the motion to compel will be
denied.
       Although neither party specifically requests sanctions, under the Federal Rules of
Civil Procedure the court must assess reasonable expenses against the movant, if the
motion to compel is denied, unless “the motion was substantially justified or other
circumstances make an award of expenses unjust.” See Fed. R. Civ. P. 37(a)(5)(B). The
court finds the plaintiff has shown substantial justification for her position as to the
discovery addressed herein by asserting legitimate reasons for several of the arguments,

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though not all were found to be supportable. Under the circumstances, the court will not
assess Fed. R. Civ. P. 37 expenses against the plaintiff. Upon consideration,


       IT IS ORDERED:
       1.      The plaintiff’s Motion to Compel (Filing No. 39) is denied.
       2.      The defendant’s request for oral argument (Filing No. 45) is denied.


                                        ADMONITION
       Pursuant to NECivR 72.2 any appeal of this Order shall be filed with the Clerk of the
Court within fourteen (14) days after being served with a copy of this Order. Failure to
timely appeal may constitute a waiver of any objection to the Order. The brief in support
of any appeal shall be filed at the time of filing such appeal. Failure to file a brief in support
of any appeal may be deemed an abandonment of the appeal.
       DATED this 18th day of May, 2010.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge




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